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     Assistant U.S. Attorney
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 4   Telephone: (916) 554-2918
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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-12-0322 MCE
12             Plaintiff,             )
                                      )   STIPULATION AND
13                                    )   ORDER CONTINUING STATUS
          v.                          )   CONFERENCE
14                                    )
     HOVIK MKRTCHIAN, TATYANA         )
15   SHVETS, and ALEKSANDR            )
     MIKHAYLOV,                       )
16                                    )
               Defendants.            )
17                                    )
18
19
20        IT IS HEREBY STIPULATED by and between Plaintiff United
21   States of America and Attorney Richard Nahigian on behalf of
22   Defendant HOVIK Mkrtchian, Attorney Scott Tedmon on behalf of
23   Defendant Aleksandr Mikhaylov, and Attorney Bruce Locke on behalf
24   of Defendant Tatyana Shvets, that the status conference scheduled
25   for May 2, 2013, be continued to July 25, 2013, at 9:00 a.m.
26        The request to continue the status conference is made for
27   several reasons.   On April 25, 2013, co-defendant Aleksandr
28   Lastovskiy appeared before United States Magistrate Judge Carolyn

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 1   K. Delaney to request that new counsel be appointed to replace
 2   the Federal Defender’s Office.     Judge Delaney granted the request
 3   and confirmed the status conference to allow replacement counsel
 4   to make an initial appearance on May 2, 2013.        Defendant
 5   Lastovksiy’s new attorney will need time to review and discuss
 6   the matter with Lastovskiy.     In addition, the government has
 7   received additional discovery which is being provided to defense
 8   counsel this week.   All other defense counsel will therefore need
 9   time to review this additional information and discuss it with
10   their respective clients.
11        The government and defendants agree that an exclusion of
12   time is appropriate under 18 U.S.C. 3161(h)(7)(B)(iv); Local Code
13   T4 (reasonable time to prepare).       This exclusion of time includes
14   the period from May 2, 2013, up to and including July 25, 2013.
15        Richard Nahigian, Scott Tedomon, and Bruce Locke agree to
16   this request and have authorized Assistant United States Attorney
17   Todd D. Leras to sign this stipulation on their behalf.
18
19   DATED: April 29, 2013              By: /s/ Todd D. Leras
                                            TODD D. LERAS
20                                          Assistant U.S. Attorney
21
22   DATED: April 29, 2013              By: /s/ Todd D. Leras for
                                            RICHARD NAHIGIAN
23                                          Attorney for Defendant
                                            HOVIK MKRTCHIAN
24
25   DATED: April 29, 2013              By: /s/ Todd D. Leras for
                                            BRUCE LOCKE
26                                          Attorney for Defendant
                                            TATYANA SHVETS
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 1   DATED: April 29, 2013                     By: /s/ Todd D. Leras for
                                                    SCOTT TEDMON
 2                                                  Attorney for Defendant
                                                    ALEKSANDR MIKHAYLOV
 3
 4
 5           IT IS HEREBY ORDERED:
 6           1.   The status conference set for May 2, 2013, is continued
 7   to July 25, 2013, at 9:00 a.m.
 8           2.   Based on the stipulations and representations of the
 9   parties, the Court finds that the ends of justice outweigh the
10   best interest of the public and defendants in a speedy trial.
11   Accordingly, time under the Speedy Trial Act shall be excluded
12   under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 (reasonable
13   time to prepare) from May 2, 2013, up to and including July 25,
14   2013.
15           IT IS SO ORDERED.
16   Date: April 30, 2013
17   _____________________________________
                               _____________________________________________
18
                               MORRISON C. ENGLAND, JR., CHIEF JUDGE
19                             UNITED STATES DISTRICT COURT

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